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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 1:02-cr-05050-AWI-1

12                     Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
                                                       BRIEFING SCHEDULE; ORDER
13          v.

14   EDUARDO PANO CANO,                                Judge: Honorable ANTHONY W. ISHII

15                     Defendant.

16

17          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
18   hereby requests that the deadline to file a supplement to defendant’s pro se motion be extended to
19   March 13, 2015 and that the corresponding deadlines for government response and defense reply
20   be extended to March 27, 2015 and April 3, 2015, respectively. Government counsel has
21   graciously indicated she has no objection.
22   Dated: February 27, 2015
23                                                       Respectfully submitted,
24                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
25

26                                                       /s/ David M. Porter
                                                         DAVID M. PORTER
27                                                       Assistant Federal Defender
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 1                                                ORDER
 2          Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered

 3   that the supplement to defendant’s pro se motion may be filed on or before March 13, 2015; the

 4   government’s response to supplement shall be filed on or before March 27, 2015; and, the

 5   defendant’s reply shall be filed on or before April 3, 2015.

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 7   IT IS SO ORDERED.
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     Dated: March 2, 2015
 9                                               SENIOR DISTRICT JUDGE

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